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 8
                           UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10

11
     SOCIAL POSITIONING INPUT               Case No.: 2:21-cv-07312-RGK-SK
     SYSTEMS, LLC,
12
                  Plaintiff,                JOINT STIPULATION OF
13
                                            DISMISSAL WITH PREJUDICE
14   vs.
15                               NOTE FOR CONSIDERATION:
     EXAKTIME INNOVATIONS, INC., DATE: FEBRUARY 22, 2022
16
             Defendant
17                               TIME: 9:00 AM
18
                                            HONORABLE R. GARY KLAUSNER
19

20

21                Plaintiff Social Positioning Input Systems, LLC and Defendant
22
     Exaktime Innovations, Inc., by their respective undersigned counsel, hereby
23

24   STIPULATE and AGREE as follows:
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           1.     All claims asserted by the Plaintiff in this Action are dismissed with
26
     prejudice.
27

28   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE NOTE FOR CONSIDERATION: DATE:
     FEBRUARY 22, 2022TIME: 9:00 AMHONORABLE R. GARY KLAUSNER - 1
     Case 2:21-cv-07312-RGK-SK Document 19 Filed 02/15/22 Page 2 of 2 Page ID #:90



 1         2.    Each party shall bear its own costs and attorneys’ fees with respect to
 2
     the matters dismissed hereby;
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 4         This Stipulation and Order shall finally resolve the Action between the parties.
 5

 6
     Dated: February 15, 2022                      Respectfully submitted,
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 8                                                 /s/ Brian Christopher Holloway
                                                   Brian Holloway(State Bar No.
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                                                   335408)
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15                                                 /s/ Christopher Pepe
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28   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE NOTE FOR CONSIDERATION: DATE:
     FEBRUARY 22, 2022TIME: 9:00 AMHONORABLE R. GARY KLAUSNER - 2
